                           UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF ALABAMA

In re                                                       Case No. 10-30631-WRS
                                                            Chapter 7
ALLEGRO LAW LLC,

             Debtor

CARLY B. WILKINS, TRUSTEE,

             Plaintiff                                      Adv. Pro. No. 11-3007-WRS

    v.

AMERICORP INC., SETON INC.,
and TIMOTHY McCALLAN,

             Defendants


                ORDER: (1) FINDING TIMOTHY McCALLAN IN CONTEMPT
                  OF COURT, AND (2) REQUIRING HIM TO PURGE
                              HIMSELF OF CONTEMPT

         This Adversary Proceeding came before the Court for hearing on October 6, 2016.

Plaintiff Carly Wilkins was present in Court in person and with counsel Steve Olen and Lucy E.

Tufts. Defendant Timothy McCallan was present in Court in person and with counsel Michael

A. Fritz, Sr. No appearance was made for Defendants AmeriCorp, Inc., or Seton, Inc.

         Plaintiff Wilkins served Requests for Production of Documents and Interrogatories on

each of the Defendants. (Docs. 372 and 373). None of the Defendants responded and Wilkins

filed a motion to compel on June 24, 2016. (Doc. 375). On August 9, 2016, the Court granted

Wilkins’ motion to compel, ordering the Defendants to file responses within 7 days. (Doc. 383).




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Defendants AmeriCorp and Seton made no response and McCallan served but did not file

untimely responses in the latter part of September, 2016.

       Wilkins filed a motion for sanctions, contending that Defendants AmeriCorp and Seton

should be held in contempt for not responding as ordered. (Doc. 386). Moreover, Wilkins

contends that McCallan should be sanctioned because his responses were incomplete or

erroneous in many respects. McCallan testified for approximately an hour and a half at the

October 6, 2016 hearing.

       Defendants AmeriCorp and Seton are held in contempt of court. Even if they are defunct,

as urged by Mr. Fritz, they may still act through McCallan, who owns both of them and who has

the authority to act on their behalf. At this juncture, it does not appear that, other than making a

finding of contempt, any purpose would be served by taking further action against these

Defendants.

       Defendant McCallan is found to have willfully violated this Court’s Order of August 9,

2016. Many of his responses are incomplete and known by him to be incomplete. Moreover,

McCallan’s position, that he did not have to produce documents because the Plaintiff has

obtained documents from his accountants and banks, is without merit. McCallan is under a duty

to respond truthfully and accurately to the Interrogatories and Request for Production of

Documents. That other persons may be responding to separate subpoenas does not, in any way,

relieve him of his obligations. The Court further notes that it finds McCallan’s testimony that he

is unaware of his sources of foreign income is incredible.




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       ORDERED, that Defendant Timothy McCallan is found to be in contempt of court for his

failure to truthfully and accurately answer Interrogatories and to respond to a Request for

Production of Documents.

       ORDERED, that McCallan shall, not later than October 18, 2016, serve and file answers

to the Interrogatories and respond to the Request for Production of Documents.

       Done this 6th day of October, 2016.




                                                 United States Bankruptcy Judge




c: Steve Olen, Attorney for Plaintiff
   Lucy E. Tufts, Attorney for Plaintiff
   Michael A. Fritz Sr., Attorney for Defendants




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